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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
IN RE: § CASE NO.
§
ANTHONY S. MUHARIB § 24-32843 (CML)
§ (Chapter 7)
DEBTOR §

SECOND STIPULATION AND AGREED ORDER BETWEEN DEBTOR
AND U.S. TRUSTEE ENLARGING DEADLINE TO FILE (@) A MOTION

UNDER 11 U.S.C. § 707(b) OR (ii) AN OBJECTION TO DISCHARGE

This Second Stipulation and Agreed Order Between Debtor and U.S. Trustee Enlarging

Deadline to File (i) a Motion Under 11 U.S.C. § 707(b) or (ii) an Objection to Discharge (the
“Stipulation”) is entered into by and between Anthony S. Muharib (“Debtor”) and the U.S. Trustee
(collectively, the “Parties”), with reference to the following facts:

WHEREAS, on June 20, 2024, the Debtor filed the Voluntary Petition under chapter 13 of
the Bankruptcy Code declaring that his debts are primarily consumer debts;

WHEREAS, on July 4, 2024, the Debtor filed the Motion to Extend Deadline to File
Schedules, Statement of Financial Affairs, Form B22(c), Chapter 13 Plan, Plan Summary and
Payment Advices [Dkt. No. 12];

WHEREAS, on July 15, 2024, the Court entered the Order extending the deadline for five
additional days to July 9, 2024 [Dkt. No. 13];

WHEREAS, on August 23, 2024, the Chapter 13 Trustee filed the Motion to Dismiss or
Convert [Dkt. No. 23];

WHEREAS, on September 23, 2024, the Debtor filed the Notice of Conversion of a
Chapter 13 Bankruptcy to Chapter 7 Bankruptcy [Dkt. No. 30];

WHEREAS, on September 27, 2024, Ron Sommers (“Sommers”) was appointed to serve
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as the successor chapter 7 trustee.

WHEREAS, the initial meeting of creditors was scheduled on October 30, 2024, at 10:30
a.m., and the last day to oppose discharge was December 30, 2024 [Dkt. No. 34].

WHEREAS, on October 30, 2024, the Debtor filed the (i) Schedules, Statement of
Financial Affairs, Statement of Intention, and Disclosure of Compensation [Dkt. No. 36}, (ti) the
Chapter 7 Statement of Your Current Monthly Income and Statement of Exemption from
Presumption of Abuse Under § 707(b)(2) [Dkt. No. 37], and (iti) the Amended Voluntary Petition
under chapter 7 of the Bankruptcy Code declaring that his debts are primarily business debts [Dkt.
No. 39];

WHEREAS, on October 30, 2024, the meeting of creditors was commenced and continued
to November 20, 2024;

WHEREAS, on November 25, 2024, the Debtor filed () the Amended Statement of
Financial Affairs [Dkt. No. 41], stating that he would supplement his gross wages from
employment for 2022 and 2023, identifying legal actions in which the Debtor was a party within
one year of bankruptcy, and disclosing businesses within four years of bankruptcy, and (ii) the
Amended Schedules A/B and C [Dkt. No. 42];

WHEREAS, on November 20, 2024, the meeting of creditors was commenced and
continued to December 4, 2024;

WHEREAS, on December 4, 2024, the meeting of creditors was commenced and continued
to December 18, 2024;

WHEREAS, on December 18, 2024, the meeting of creditors was commenced and
continued to January 15, 2025;

WHEREAS, On December 31, 2024, the Court entered the Stipulation and Agreed Between
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Debtor and the U.S. Trustee Enlarging Deadline to File (i) a Motion Under I1 U.S.C. § 707(b) or
(ii) an Objection to Discharge [Dkt. No. 49];

WHEREAS, on January 22, 2025, Sommers filed the Chapter 7 Trustee’s Report of No
Distribution;

WHEREAS, the current deadline to file a motion under § 707(b) or an objection to
discharge is March 17, 2025;

WHEREAS, the Debtor has not produced all the documents requested by the U.S. Trustee;

WHEREAS, the Parties have agreed, subject to approval of this Court, to stipulate to an
enlargement of the deadlines solely as to the U.S. Trustee.

NOW, THEREFORE, IT IS STIPULATED AND AGREED TO BY THE PARTIES,
AND UPON APPROVAL BY THE COURT OF THIS STIPULATION, IT IS SO
ORDERED AS FOLLOWS:

1, The deadline to file a motion under § 707(b) or an objection to discharge is enlarged
through and including May 30, 2025.

2. The Parties may also stipulate that any specified period shall be enlarged upon a
showing of cause before the expiration of the period prescribed or as extended by a previous

stipulation, subject to this Court's approval.
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KEVIN M. EPSTEIN

UNITED STATES TRUSTEE

REGION 7, SOUTHERN and WESTERN
DISTRICTS OF TEXAS

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